Case 1:23-cr-20464-BB Document 17 Entered on FLSD Docket 01/17/2024 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-20464-CR-BLOOM/TORRES


 UNITED STATES OF AMERICA,             )
                                       )
 vs.                                   )
                                       )
 VICTOR MANUEL ROCHA                   )
                                       )
       Defendant.                      )
  ____________________________________ )


                 MOTION TO CONTINUE CALENDAR CALL AND TRIAL

          Defendant, Victor Manuel Rocha, by and through his undersigned counsel, files this

 motion for a continuance of the calendar call, which is presently scheduled for January 23, 2024

 at 1:30 p.m. and trial, which is presently scheduled for January 29, 2024 at 9:00 a.m.

          A grand jury indictment charging Mr. Rocha was issued on December 5, 2023 and

 extensive discovery was served by the government on December 19, 2023. The parties have

 agreed to continue the arraignment in this case and on January 8, 2024, this Court entered an

 order rescheduling the arraignment for February 16, 2024. Additionally, defendant requires

 more time to review discovery and adequately prepare. In the interests of justice, defendant

 moves for a continuance and the granting of such continuance outweighs the best interests of the

 public and the defendant in a speedy trial pursuant to 18 U.S.C. §3161(h)(8). The government

 does not oppose this request.

 Dated: January 17, 2024


                                              /s/ Jacqueline M. Arango
                                              Jacqueline M. Arango, Esq.
                                              Florida Bar No. 664162
                                              Email: jacqueline.arango@akerman.com

                                                 1
 74498476;1
Case 1:23-cr-20464-BB Document 17 Entered on FLSD Docket 01/17/2024 Page 2 of 2




                                             Secondary Email: marylin.herrera@akerman.com
                                             AKERMAN LLP
                                             Three Brickell City Centre
                                             98 Southeast Seventh Street, Suite 1100
                                             Miami, Florida 33131
                                             Phone: (305) 374-5600

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of this Agreed Motion for Continuance
 of Pre-Trial Detention Hearing was filed electronically filed via CM/ECF this 17th day of
 January, 2024 and served on all counsel of record.

                                             By:_/s/ Jacqueline M. Arango
                                                    Attorney for Defendant Victor Manuel Rocha




                                                2
 74498476;1
